Dear Mr. Sexton:
Enclosed please find a letter from Mr. Morris J. Chandler, Executive Director, Housing Authority of the Town of Colfax, P.O. Box 179, Colfax, Louisiana, 71417-0179.
This inquiry is in reference to whether 1) there is a conflict of interest with a Housing Authority Commission Member holding the City Mayor office while still on the Board of Commissioners; 2) there is a conflict of interest with the City Mayor (if elected) having rental property under the Section 8 subsidized rental program; 3) there is a conflict of interest with a Housing Authority Board Member serving on the City Council and retaining his Commissioner's status? As this is within your jurisdiction, I am forwarding this letter for your response.
Very truly yours,
                                       Richard P. Ieyoub Attorney General
                                       By: Kenneth C. Dejean
General Counsel *Page 1 
OPINION NUMBER 94-364
AUGUST 3, 1994
                              78 OFFICERS — Dual Officeholding LSA-R.S. 42:63 (D); LSA-R.S. 42:62
(4)  (5)
Mr. Morris J. Chandler        A commissioner on the Board of the Executive Director            Housing Authority, a part-time Housing Authority             appointive office, may also hold a Town of Colfax                local elective office in the same P.O. Box 179                  political subdivision. Colfax, Louisiana 71417-0179